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may 5 2008 iy
' UNITED STATES DISTRICT COURT

 

 

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cust. U8. DISTRICT count EASTERN DIVISION
. )
COLUMBIA CASUALTY COMPANY, an )
Illinois insurance company, )
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Plaintiff, }
)
V5. )
) a |
ONEBEACON AMERICA INSURANCE __) net 7 oon
COMPANY, a Massachusetts insurance ) 0 5 C )
company, f/k/a COMMERCIAL UNION ) Case No!
INSURANCE COMPANY, and successor-in-_) MAGISTRATE JUDGE ASHMAN
intcrest to COMMERCIAL UNION )
REINSURANCE COMPANY, formerly a )
Massachusetts insurance company, } JURY DEMAND
)
Defendant. )
)
_ COMPLAINT

Plaintiff Columbia Casualty Company (“Columbia Casualty”), for its causes of action,
states as follows:

l. This is an action for breach of a reinsurance contract described in more detail
below (the “Contract’”).

2. Plaintiff and its affiliate, Transcontinental Insurance Company (“TIC”), entered
into a settlement agreement whereby they agreed to pay a substantial sum of money over eight
(8) years to fully resolve their respective liabilities pursuant to certain insurance policies issued
to Dynalectron Corporation (“Dynalectron”). After making a payment under the settlement

agreement that triggered the obligations of Defendant OneBeacon America Insurance Company

(“OneBeacon”) under the Contract, Columbia Casualty billed OneBeacon for OneBeacon’s share

 

 

 
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of the reinsurance recoverable on that settlement payment. OneBeacon has refused to pay the
amounts now due under the Contract and has contested its obligation to pay OneBeacon’s share
of reinsurance recoverable on the remaining scheduled settlement payments. Accordingly,
Columbia Casualty brings this action to recover damages resulting from OneBeacon’s breach of
the Contract, and to obtain a declaration from the Court that the Contract obligates OneBeacon to
pay, when billed, its share of the reinsurance recoverable on Columbia Casualty’s remaining
scheduled settlement payments.

JURISDICTION AND VENUE

3. This Court has subject matter jurisdiction over this dispute pursuant to 28 U.S.C.
§ 1332 because Columbia Casualty and OneBeacon are citizens of different states and the matter
in controversy exceeds the sum of $75,000, exclusive of interest and costs.

4. This Court has personal jurisdiction over OneBeacon because, upon information
and belief, OneBeacon has transacted and continues to transact substantial business in the State
of Illinois, OneBeacon is an insurance company that is licensed by the Illinois Department of
Insurance, and/or because OneBeacon otherwise has the requisite minimum contacts with the
State of Tllinois.

5. Venue is proper in this Court pursuant to 28 U.S.C. § 1391.

THE PARTIES

6. Columbia Casualty is an insurance company organized under the laws of the State
of Tllinois, with its principal place of business in Chicago, Illinois.

7. OneBeacon is an insurance company organized under the laws of the State of

Massachusetts, with its principal place of business in Boston, Massachusetts. OneBeacon is

licensed by the Illinois Department of Insurance to do business in Illinois. OneBeacon was

 

 

 
 

 

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formerly known as Commercial Union Insurance Company, another msurance company
organized under the laws of the State of Massachusetts with its principal place of business in
Boston, Massachusetts. OneBeacon is the successor-in-interest to Commercial Union
Reinsurance Company (“Commercial Union”), a former insurance company that had been
organized under the laws of the State of Massachusetts, and had its principal place of business in

Boston, Massachusetts. Commercial Union entered into the Contract at issue with Columbia

Casualty.
| BACKGROUND
The Contract
8. The Contract is a reinsurance facultative certificate bearing certificate number

00277A and issued by Commercial Union to Columbia Casualty for the period July 1, 1981
ihrough July 1, 1982.

9. A reinsurance contract ig an arrangement whereby one insurance company,
known as the “ceding company” or the “cedent,” obtains insurance from another professional
insurer, known as the “reinsurer,” in order to transfer some or all of the insured risk the cedent
has assumed. In this case, Columbia Casualty was the cedent, and Commercial Union was the
reisurer,

10. The particular reinsurance contract at issue in this case provides “facultative
reinsurance,” a type of reinsurance coverage that is negotiated on an individual basis and applies
to a single risk assumed by the cedent. In this case, the individual risk that Commercial Union
agreed to rcinsure was Columbia Casuaity’s liability under an excess liability insurance policy,
numbered RDX 417-02-36, issued by Columbia Casualty to Dynalectron Corporation (the

“Underlying Policy”). The Underlying Policy provided excess liability insurance coverage to

 
 

 

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Dynalectron Corporation and its wholly-owned subsidiary, Fuller-Austin Insulation Company
(“Fuller-Austin”).

11. Pursuant to the Contract, Commercial Union agreed to reinsure Columbia
Casualty for its liability under the Underlying Policy up to a limit of $2 million, part of $20
million cach occurrence and $20 million in the aggregate, excess of $30 million each occurrence
and $30 million in the aggregate, excess of the limits of the Underlying Policy.

12. Commercial Union accepted premium payments from Columbia Casualty in
exchange for Commercial Union’s agreement to reinsure Columbia Casualty pursuant to the
Contract.

The Fuller-Austin Settlement

13. Pursuant to the Underlying Policy, Dynalectron’s subsidiary, Fuller-Austin,
presented certain claims to Columbia Casualty relating to Fuller-Austin’s liability for alleged
asbestos-related injuries (the “Asbestos Claims”). In 1994, Fuller-Austin also initiated a
declaratory judgment action against Columbia Casualty and other insurers seeking to establish
the insurers’ obligations to Fuller-Austin under various insurance policies, including the
Underlying Policy.

14, Jn 1998, Fuller-Austin filed a petition for bankruptcy protection under Chapter 11
of the Bankruptcy Code. The bankruptcy court approved a reorganization plan that resulted in
the creation of the Fuller-Austin Asbestos Settlement Trust (the “Trust”). As part of the
reorganization plan, the bankruptcy court established procedures for the submission and
processing of claims by asbestos claimants to the Trust. The Trust assumed certain assets of

Fuller-Austin, including the Underlying Policy and other insurance policies.

 

 
 

 

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15. In February 2002, the court presiding over the declaratory judgment action ruled,
based on the bankruptcy court’s approval of the reorganization plan, that the excess insurers of
Fuller-Austin (including Columbia Casualty) had a present obligation to pay Fuller-Austin for all
pending and future Asbestos Claims. The court ruled that this present obligation arose upon the
bankruptcy court’s approval of the reorganization plan, finding Fuller-Austin liable for all
pending and future Asbestos Claims. The present value of future claims was later estimated by
the jury in the declaratory judgment action to exceed the amount of insurance issued by the
excess ingurers. |

16. In December 2002, Columbia Casualty, its affiliate TIC, and Fuller-Austin
executed a settlement agreement. Under the terms of the agreement, Columbia Casualty and TIC
agreed to make certain payments to Fuller-Austin under an agreed schedule to resolve their
respective liabilities to Fuller-Austin (“the Settlement Agreement”).

17. Columbia Casualty notified OneBeacon and/or its agent of the Settlement
Agreement with Fuller-Austin.

Defendant’s Wrongful Refusal To Pay

18. Onor before January 31, 2003, Columbia Casualty paid the first payment required
by the Settlement Agreement. This first payment did not implicate the reinsurance provided by
Commercial Union pursuant to the Contract. —

19. On or before January 31, 2004, Columbia Casualty paid the second payment
required by the Settlement Agreement. This second payment implicated the reinsurance
provided by Commercial Union pursuant to the Contract. On February 2, 2004, Columbia
Casualty billed OneBeacon for $456,083.70, its allocable share of the second settlement payment —

pursuant to the Contract.

 

 
 

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20. On ot before January 31, 2005, Columbia Casualty paid the third payment
required by the Settlement Agreement. This third payment implicated the reinsurance provided
by Commercial Union pursuant to the Contract. On January 26, 2005, Columbia Casualty billed
OneBeacon $1,514,574, its allocable share under the Contract.

21. OneBeacon refuses to pay the $1,970,658 due under the Contract.

29. As aresult of the OneBeacon’s refusal to pay the $1,970,658 due under the
Contract, a dispute arose between the Columbia Casualty and OneBeacon.

23. OneBeacon’s refusal to pay the sum due and owing under the Contract constitutes
a breach of contract.

COUNT I: CLAIM FOR BREACH OF CONTRACT

24. Plaintiff restates and realleges the allegations set forth in paragraphs 1-23, as if
fully set forth herein.

25. The Contract at issue in this case constitutes a valid and enforceable contract that
was entered into for valid consideration.

26. Columbia Casualty has performed its obligations under the Contract.

27.  OneBeacon is obligated under the Contract to follow the settlements of Columbia
Casualty. OneBeacon has breached the Contract by failing to follow Columbia Casualty’s
sctilement with Fuller-Austin.

28. OneBeacon has breached the Contract by failing to pay to Columbia Casualty the
amounts due under the Contract.

29. Columbia Casualty has been damaged by OneBeacon’s breach of contract in

amounts in excess of $1,970,658.

 

 
 

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30. Columbia Casualty is entitled to pre-judgment interest on the amounts due under
the Contract pursuant to 815 ILCS 205/2.

COUNT Il: CLAIM FOR ANTICIPATORY BREACH OF CONFRACT

31. Plaintiff restates and realleges the allegations set forth in paragraphs 1-30, as tf
fully set forth herein.

32. The Settlement Agreement requires Columbia Casualty to make additional
payments to Fuller-Austin over the next five (5) years.

33, Following each scheduled payment to Fuller-Austin, Columbia Casualty will bill
One Beacon for additional amounts owed under the Contract for OneBeacon’s allocable share of
Columbia Casualty’s liability until the limits of the Contract have been exhausted.

34. In addition to refusing to pay the amounts now billed, OneBeacon denies any
liability to Columbia Casualty for expected billings under the Contract related to the additional,
scheduled settlement payments to Fuller-Austin. OneBeacon’s refusal to pay those expected
billings from Columbia Casualty will further breach the Contract and cause additional injury to
Columbia Casualty.

35. Pursuant to 28 U.S.C. §2201, an actual controversy exists between Columbia
Casualty and OneBeacon with respect to the Contract, and this Court has the authority to declare
the parties’ rights and duties pursuant to the Contract.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in favor of

Plaintiff and against Defendant as foilows:

a) A judgment that Defendant is in breach of contract;
 

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b) An award of compensatory damages in an amount in excess of $1,970,658
together with pre-judgment interest;

c) A judgment declaring that Defendant is obligated to pay all additional
amounts subsequently due under the Contract and related to Plaintiff's
liability for scheduled payments under the Settlement Agreement; and

d) An award of such other relief as the Court deems fair and just.

  
   

Dated: May 5, 2005 COLUMBIA-CASCALTY INSURANCE 2-77

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